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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT

                                                     :
JAKUB MADEJ                                          :
                                                     :       CIVIL ACTION NO.
                       PLAINTIFF                     :       3:20-cv-00133-JCH
                                                     :
v.                                                   :
                                                     :
YALE UNIVERSITY, MARVIN CHUN,                        :
MARK SCHENKER, PETER SALOVEY AND                     :
JESSIE ROYCE HILL                                    :
                                                     :
                       DEFENDANTS                    :
                                                     :       DECEMBER 2, 2020

                     WITHDRAWAL OF DEFENDANTS’ MOTION
                 FOR ORDER OF COMPLIANCE WITH COURT ORDER

       On October 26, 2020, the Court granted the defendant’s motion to compel the plaintiff “to

produce to the defendants a damage analysis that sets forth the basis for, and calculation of, his

compensatory damages, past wage loss, and future wage loss, and to produce any documents that

support these calculations” within 14 days. (ECF No. 174, p. 21.) On November 9, 2020, the

plaintiff uploaded to the designated drop box a Word document labeled “damages-analysis-nov-

9.docx.” When defense counsel attempted to open the document, he received an error message,

indicating that the format in which the document had been created by the plaintiff could not be

opened. After defense counsel sent repeated e-mails to the plaintiff requesting that the plaintiff

supply the subject document in PDF format (the format used by the plaintiff for all other documents

sent to the Sharefile established by the defendants in compliance with the Court’s prior order), the

plaintiff finally provided the damages calculation in PDF form to defense counsel, which was a

readable form. Therefore, the defendants withdraw their Motion for Order of Compliance with

Court Order, ECF No. 183. Given that the damages analysis fails to comply with the Court’s prior
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order as to the content of the damages calculation, the defendants have now moved to strike

plaintiff’s claims for damages, which is being filed simultaneously herewith.




                                                THE DEFENDANTS,

                                                YALE UNIVERSITY, MARVIN CHUN, MARK
                                                SCHENKER, PETER SALOVEY AND JESSIE
                                                ROYCE HILL


                                          By:                 /s/
                                                PATRICK M. NOONAN – CT00189
                                                COLLEEN NOONAN DAVIS – CT27773
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                                       CERTIFICATION

        I hereby certify that, on the above-written date, a copy of the foregoing was filed
electronically and served by mail on anyone unable to accept electronic filing. Notice of this filing
will be sent by e-mail to all parties by operation of the court’s electronic filing system or by mail
to anyone unable to accept electronic filing as indicated on the Notice of Electronic Filing. Parties
may access this filing through the court’s CM/ECF System.


                                                      _______________/s/________________
                                                             Patrick M. Noonan




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